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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X
JOGINDER YASHP AL SHARMA,
                                                                             JUDGMENT
                                                                             22-cv-717 (NGG)
                          Plaintiff,

                          v.

MERRICK GARLAND, Attorney General of the
United States, ALEJANDRO MAYORKAS,
Secretary, Department of Homeland Security,
UR MENDOZA JADDOU, Director, U.S. Citizenship
and Immigration Services, TRACY RENAUD,
District Director, Northeast Region, U.S.
Citizenship and Immigration Services,
MICHAEL BORGEN, U.S. Citizenship and
Immigration Services,

                           Defendants.
----------------------------------------------------------- X
        A Memorandum and Order of Honorable Nicholas G. Garaufis, United States District Judge,

having been filed on March 31, 2022, dismissing Plaintiff’s Complaint and all claims therein

pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, without costs or attorneys' fees

to any party; it is

        ORDERED and ADJUDGED that Plaintiff’s Complaint and all claims therein are dismissed

pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, without costs or attorneys' fees

to any party; and that this dismissal is without prejudice to Plaintiff’s right to reinstate this action if

United States Citizenship and Immigration Services does not render a decision on Plaintiff’s

application for naturalization (Form N-400) within thirty (30) days of entry of judgment.

Dated: Brooklyn, NY                                                   Brenna B. Mahoney
       April 1, 2022                                                  Clerk of Court

                                                                By:   /s/Jalitza Poveda
                                                                      Deputy Clerk
